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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      LAFAYETTE DIVISION

 IN THE MATTER OF BULLY 1                                 CIVIL ACTION
 (SWITZERLAND) GMBH, AS OWNER,
 AND NOBLE DRILLING (U.S.) LLC, AS                        NO.:
 OWNER PRO HAC VICE, OF THE
 GLOBETROTTER II                                          JUDGE

                                                          MAGISTRATE


                      VERIFIED COMPLAINT FOR EXONERATION
                        FROM OR LIMITATION OF LIABILITY

       The Verified Complaint in Limitation of Bully 1 (Switzerland) GmbH (hereinafter referred to

as “Bully 1”), as Owner, and Noble Drilling (U.S.) LLC (hereinafter referred to as “Noble Drilling”),

as Owner Pro Hac Vice, of the GLOBETROTTER II (collectively referred to as “Petitioners”), in

a cause of exoneration from or limitation of liability, civil and maritime, within the admiralty and

maritime jurisdiction of this Honorable Court, pursuant to 28 U.S.C. § 30501, et seq., Rule 9(h) of

the Federal Rules of Civil Procedure and Rule F of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions (“Supplemental Admiralty Rules”), alleges upon

information and belief, as follows:

                                                 1.

       At all times material hereto, Bully 1 (Switzerland) GmbH was and is a company organized

and existing under and by virtue of the laws of Switzerland, with its principal place of business in

Baar, Switzerland.
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                                                2.

       At all times material hereto, Noble Drilling (U.S.) LLC was and is a limited liability

company organized and existing under and by virtue of the laws of the State of Delaware, with its

principal place of business in Sugar Land, Texas.

                                                3.

       Petitioners were at all times material hereto the Owner, and/or Owner Pro Hac Vice, of the

GLOBETROTTER II and are considered “owners” of the vessel under the Limitation of Liability

Act, 46 U.S.C. 30501 et seq., as a party or parties sought to be held liable “as owner” of the

GLOBETROTTER II, per the claims set forth in Paragraphs 6 and 7, infra, and accordingly are

entitled to the protections afforded by the Limitation of Liability Act. See In re Magnolia Marine

Transportation Co., 2003 A.M.C. 2425 (E.D. Okla. 2003); In re Shell Oil Company, 780 F. Supp.

1086 (E.D. La. 1991).

                                                4.

       Before the occurrence of the incident described herein, the GLOBETROTTER II was a

drillship vessel bearing IMO number 9600786, with a gross registered tonnage of 35,676 and is

currently sailing under the flag of Liberia.

                                                5.

       Petitioners used due diligence at all times to make and maintain the GLOBETROTTER II

in all aspects seaworthy, and prior to the incident described herein, the GLOBETROTTER II was

tight, staunch, strong, fully and competently manned, properly equipped and supplied, and in all

respects seaworthy and fit for service in which she was engaged.

                                                6.

       During the week of August 23, 2021, the GLOBETROTTER II was operating in Mississippi

Canyon Block 809 in the Gulf of Mexico to drill the Princess P-12 well. On August 23, 2021,


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Feature 22-L developed near the Yucatan and Bay of Campeche and was reported as having a low

probability of organization. On August 24, 2021, Feature 22-L was a tropical low that remained

unorganized with forecasted tracks in various areas of the Gulf of Mexico. On August 25, 2021,

Feature 22-L was reclassified as Invest 99L, which remained ill-defined, and projected to move

into the Gulf of Mexico in the coming days. During the time period between August 26, 2021 and

August 29, 2021, Invest 99L developed into Hurricane Ida, and the storm’s intensity, speed, and

direction changed in ways that were not expected or foreseen. Other unforeseen complications

were also experienced by the vessel when trying to unlatch and evade the storm.

                                                 7.

       On or about August 29, 2021, the winds and waves from Hurricane Ida impacted the

GLOBETROTTER II while it was attempting to evade the storm. As a result of this occurrence,

claims and lawsuits have been made/filed by multiple individuals aboard the vessel, which include

allegations of physical injury, mental anguish, distress, discomfort, as well as other alleged issues

relating to the impact of the weather on GLOBETROTTER II. While Noble has provided

maintenance and cure to its employees, any allegations of injuries, whether physical or mental,

have been disputed.

                                                 8.

       This Complaint is filed within six (6) months from the date Petitioners first received written

notice of a limitable claim from anyone aboard the vessel or involved with the voyage. And the

vessel has not been damaged or lost at sea since the completion of this voyage and return to service.

                                                 9.

       The aforementioned weather impact, alleged injuries, losses, and/or damages allegedly

resulting therefrom, were not due to any fault, neglect or want of care on the part of Petitioners or

the GLOBRETROTTER II or anyone for whom said Petitioners may be responsible.


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                                                  10.

          As a result of the aforementioned weather impact on the GLOBETROTTER II, several

individuals are alleged to have sustained physical and/or emotional injuries, and/or other losses.

In addition to those potential injury claims, certain contracting parties and/or third-party

contractors may have also sustained physical damage to property, contractual issues, and/or other

losses.

                                                  11.

          Upon information and belief, Petitioners are, as of this date, aware of the following suits

having been filed as a result of the alleged weather impact to the vessel:

             Yury Remedio v. Noble Drilling (U.S.), LLC, et al

              United States District Court, Western District of Louisiana
              No. 6:21-cv-03527, Judge Summerhays, Magistrate Judge Whitehurst

             Jared Regan v. Noble Drilling (U.S.), LLC, et al

              United States District Court, Western District of Louisiana
              No. 6:21-cv-03993, Judge Summerhays, Magistrate Judge Whitehurst

             John Guidry v. Noble Drilling (U.S.), LLC, et al

              United States District Court, Western District of Louisiana
              No. 6:21-cv-03994, Judge Summerhays, Magistrate Judge Hanna

             Brandon Freeman, et al v. Noble Drilling (U.S.), LLC, et al

              United States District Court, Southern District of Texas
              No. 4:21-cv-03305, Judge Eskridge

             Howell C. McIntyre v. Noble Drilling (U.S.), LLC, et al

              United States District Court, Southern District of Texas
              No. 4:21-cv-03384, Judge Eskridge

             Hefferan v. Noble Drilling (U.S.), LLC, et al

              United States District Court, Southern District of Texas


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           No. 22-cv-00611, Judge Eskridge

          McDaniel v. Noble Drilling (U.S.), LLC, et al

           United States District Court, Southern District of Texas
           No. 22-cv-00612, Judge Eskridge

          Picard v. Noble Drilling (U.S.), LLC, et al

           United States District Court, Southern District of Texas
           No. 22-cv-00610, Judge Eskridge

          Muske v. Noble Drilling (U.S.), LLC, et al

           United States District Court, Southern District of Texas
           No. 22-cv-00614, Judge Eskridge

          Wooley, et al. v. Noble Drilling (U.S.), LLC, et al

           United States District Court, Southern District of Texas
           No. 22-cv-00616, Judge Eskridge

                                                12.

       In addition, Petitioners have been made aware that other individuals have retained counsel

and may bring claims in the future arising out of the aforementioned voyage of the

GLOBETROTTER II (See List of Potential Claimants attached hereto as Exhibit C), the sum total

of which may exceed the value of the GLOBETROTTER II and its freight pending, as outlined

below. Petitioners bring this action so that all claims by all interested parties can be promptly and

fairly adjudicated in a single forum, consistent with procedures established by Congress, the

Federal Rules of Civil Procedure, and this Court. Contemporaneous with the filing of this Petition,

Petitioners seek an order from this Court establishing a period of time within which an interested

party may file a claim for damages so that the final adjudication of this matter may proceed

expeditiously under the Court’s supervision.




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                                                 13.

       Venue is proper in this judicial district pursuant to Rule F(9) of the Supplemental

Admiralty Rules because the GLOBETROTTER II has not been attached or arrested, the incident

happened off the coast of Louisiana, the vast majority of persons on board the GLOBETROTTER

II at the time of the incident resided in Louisiana, and Petitioners have been sued in this district as

evidenced by related matters currently pending in the Western District of Louisiana (Lafayette

Division).

                                                 14.

       The attached Vessel valuation from Mr. J.F. Moore II of JF Moore Group and J. Michael

Clarkson, ASA, of Moore Bryan, dated February 11, 2022, shows the GLOBETROTTER II has a

post-incident value of not more than THIRTY-NINE MILLION, SIX HUNDRED NINTEEN

THOUSAND, TWO HUNDRED SEVENTY-FIVE 00/100 ($39,619,275.00) U.S. DOLLARS, as

evidenced by the comprehensive valuation attached as Exhibit A. Petitioners reserve the right to

supplement and amend this paragraph and valuation as further facts are developed and information

regarding repairs becomes available.

                                                 15.

       Petitioners herewith submit for Court approval, as security for the benefit of all potential

claimants, a Letter of Undertaking from Assuranceforeningen SKULD (Gjensidig) in the sum of

THIRTY-NINE MILLION, SIX HUNDRED NINTEEN THOUSAND, TWO HUNDRED

SEVENTY-FIVE 00/100 ($39,619,275.00) U.S. DOLLARS, plus interest at six percent (6%) per

annum from the date of said Letter of Undertaking, said sum representing the total value of the

GLOBETROTTER II and her appurtenance, plus freight pending. (See Letter of Undertaking,

attached hereto as Exhibit B).




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                                                  16.

        Petitioners claim exoneration from and limitation of liability from any and all injuries,

deaths, losses, contract disputes, or damages occurring as a result of the aforementioned incident

and for any and all claims therefor. Petitioners maintain that they have valid defenses thereto on

the facts and on the law, and further alleged that the incident occurred without the privity and

knowledge of Petitioners. Alternatively, Petitioners, without admitting but affirmatively denying

all liability, claim the benefit of the Limitation of Liability provided for in 46 U.S.C. § 30501, et

seq., and, to that end, Petitioners herewith deposit into the registry of the Court, as security for the

benefit of all potential claimants, the aforementioned Letter of Undertaking (Exhibit B).

                                                  17.

        Should the Petitioners be found liable and the amount or value of the Petitioners’ interests

in the GLOBETROTTER II, as aforesaid, is not sufficient to pay all losses in full, then all claimants

shall be made to share pro rata in the aforesaid sum represented by the Letter of Undertaking,

saving to all such claimants any rights of priority they may have as ordered by this Honorable

Court, or as provided by the aforesaid statutes, by the Federal Rules of Civil Procedure, including

the Supplemental Admiralty Rules, the General Maritime Law, and by the rules and practices of

this Honorable Court.

                                                  18.

        All and singular the premises of this Complaint for Exoneration from or Limitation of

Liability are true and correct and within the admiralty and maritime jurisdiction of the United

States and this Honorable Court, and within the meaning and intent of Rule 9(h) of the Federal

Rules of Civil Procedure.




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      WHEREFORE, Petitioners pray that:

   1. This Court accept Petitioners’ Ad Interim Stipulation for Value accompanied by the
      properly executed Letter of Undertaking as security for all claims in this proceeding;

   2. This Court issue a notice to all persons asserting claims with respect to which this
      Complaint seeking exoneration or limitation, admonishing them to file their respective
      claims with the Clerk of Court and to serve on attorneys for Petitioners a copy thereof on
      or before a date to be named in the notice, and that if claimant desires to contest either the
      right to exoneration from or limitation of liability, such person shall file and serve on the
      attorneys for Petitioners an answer to this Complaint on or before the said date, unless his
      or her claim has included an answer, so designated;

   3. This Court enjoin the further prosecution of any and all actions, suits or proceedings of any
      nature or description already commenced or which may hereafter be commenced in any
      jurisdiction against Petitioners, their officers, their respective insurers and underwriters,
      and/or against the GLOBETROTTER II, whether in personam, by attachment, or in rem,
      and additionally dissolving the arrest or attachment of any property of Petitioners pursuant
      to any proceedings in rem, or by attachment for loss, damage and destruction done,
      occasioned or incurred by reason of or resulting from the aforesaid incident, or incurring
      during the aforesaid voyage, except in the present proceeding, against Petitioners or any
      other person having or claiming to have an interest of any kind in the GLOBETROTTER
      II. If any claimant who shall file its claim under oath shall file an exception, controverting
      the value of the GLOBETROTTER II, and its condition, as alleged herein, in the amount of
      the approved Letter of Undertaking as aforesaid, with interest at the applicable rate per
      annum, and costs, from the date hereof, that this Court shall cause due appraisal to be made
      of the value of the GLOBETROTTER II.

   4. In the event said appraised value exceeds the limitation fund or the security filed with the
      Court, that this Honorable Court enter an Order for the giving of approved security of
      Petitioners via an Ad Interim Stipulation in such amount, pursuant to the Supplemental
      Rules for Certain Admiralty and Maritime Claims, and the Federal Rules of Civil
      Procedure;

   5. This Court adjudge, after due proceedings, that Petitioners are not liable to any extent
      whatsoever for any injuries, losses, damages or destruction, or for any claims whatsoever,
      arising from the consequences of the matters, happenings, and events stated in this
      Complaint, and exonerate Petitioners, their officers, their respective insurers and
      underwriters, and the GLOBETROTTER II from liability;

   6. Alternatively, if Petitioners should be adjudged liable, then such liability shall be limited
      to the amount or value of Petitioners’ interest in the GLOBETROTTER II, as aforesaid, at
      the time of the accident, that Petitioners be discharged therefrom upon the surrender of
      such interest, and that the money surrendered, paid or secured to be paid, as aforesaid, be
      divided pro rata according to the hereinabove mentioned statutes among such claimants as
      may duly prove and claim in accordance with the provisions of the Order hereinafter prayed
      for, saving to all parties any priorities to which they may be legally entitled, and that a


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      decree may be entered, discharging the Petitioners and their underwriters from all further
      liability;

   7. After due proceedings had, there be judgment herein, in favor of Petitioners granting them
      exoneration from, or in the alternative, limitation of liability to the amounts claimed herein;
      and

   8. Petitioners have such other and further relief as may be just and appropriate under the
      circumstances.

                                      Respectfully submitted:

                                      KEAN MILLER LLP

                                      __/s/ Robert Kallam_________________________
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                                      AND

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                                      ATTORNEYS FOR BULLY 1 (SWITZERLAND) GMBH AND
                                      NOBLE DRILLING (U.S.) LLC


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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this the 25th day of February 2022, I electronically filed the

 foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of

 electronic filing to all counsel of record. I further certify that I mailed the foregoing document and

 the notice of electronic filing by first-class mail to those who are non-CM/ECF participants.


                                                               /s/ Robert Kallam_____________




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